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            EXHIBIT 8
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KWWSVDSSOHWRROER[FRPFXVWRPL]HPHPRMLLRV                                           
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KWWSVDSSOHWRROER[FRPFXVWRPL]HPHPRMLLRV                                           
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KWWSVDSSOHWRROER[FRPFXVWRPL]HPHPRMLLRV                                           
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KWWSVDSSOHWRROER[FRPFXVWRPL]HPHPRMLLRV                                           
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KWWSVDSSOHWRROER[FRPFXVWRPL]HPHPRMLLRV                                           
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KWWSVDSSOHWRROER[FRPFXVWRPL]HPHPRMLLRV                                           
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KWWSVZZZEXVLQHVVLQVLGHUFRPDSSOHPHPRMLDQLPRMLZZGF                          
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                       Case 3:18-cv-05945-VC Document 125-8 Filed 10/30/19 Page 9 of 34




KWWSVZZZEXVLQHVVLQVLGHUFRPDSSOHPHPRMLDQLPRMLZZGF                          
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                      Case 3:18-cv-05945-VC Document 125-8 Filed 10/30/19 Page 10 of 34




KWWSVZZZEXVLQHVVLQVLGHUFRPDSSOHPHPRMLDQLPRMLZZGF                          
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                      Case 3:18-cv-05945-VC Document 125-8 Filed 10/30/19 Page 11 of 34




KWWSVZZZEXVLQHVVLQVLGHUFRPDSSOHPHPRMLDQLPRMLZZGF                          
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KWWSVZZZEXVLQHVVLQVLGHUFRPDSSOHPHPRMLDQLPRMLZZGF                          
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                     Case 3:18-cv-05945-VC Document 125-8 Filed 10/30/19 Page 13 of 34




KWWSVZZZFXOWRIPDFFRPKRZWRPDNHFXVWRPPHPRML                              
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                     Case 3:18-cv-05945-VC Document 125-8 Filed 10/30/19 Page 14 of 34




KWWSVZZZFXOWRIPDFFRPKRZWRPDNHFXVWRPPHPRML                              
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                     Case 3:18-cv-05945-VC Document 125-8 Filed 10/30/19 Page 15 of 34




KWWSVZZZFXOWRIPDFFRPKRZWRPDNHFXVWRPPHPRML                              
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                     Case 3:18-cv-05945-VC Document 125-8 Filed 10/30/19 Page 16 of 34




KWWSVZZZFXOWRIPDFFRPKRZWRPDNHFXVWRPPHPRML                              
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                     Case 3:18-cv-05945-VC Document 125-8 Filed 10/30/19 Page 17 of 34




KWWSVZZZFXOWRIPDFFRPKRZWRPDNHFXVWRPPHPRML                              
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                     Case 3:18-cv-05945-VC Document 125-8 Filed 10/30/19 Page 18 of 34




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KWWSVZZZGLJLWDOWUHQGVFRPPRELOHKRZWRPDNHDPHPRML                                
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KWWSVZZZGLJLWDOWUHQGVFRPPRELOHKRZWRPDNHDPHPRML                                
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KWWSVZZZGLJLWDOWUHQGVFRPPRELOHKRZWRPDNHDPHPRML                                
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KWWSVZZZGLJLWDOWUHQGVFRPPRELOHKRZWRPDNHDPHPRML                                
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KWWSVZZZGLJLWDOWUHQGVFRPPRELOHKRZWRPDNHDPHPRML                                
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KWWSVZZZLSKRQHOLIHFRPFRQWHQWPDNH\RXURZQHPRMLDSSOHVQHZPHPRMLLRV           
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KWWSVZZZLSKRQHOLIHFRPFRQWHQWPDNH\RXURZQHPRMLDSSOHVQHZPHPRMLLRV           
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KWWSVZZZLSKRQHOLIHFRPFRQWHQWPDNH\RXURZQHPRMLDSSOHVQHZPHPRMLLRV           
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KWWSVZZZLSKRQHOLIHFRPFRQWHQWPDNH\RXURZQHPRMLDSSOHVQHZPHPRMLLRV           
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KWWSVZZZLSKRQHOLIHFRPFRQWHQWPDNH\RXURZQHPRMLDSSOHVQHZPHPRMLLRV           
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KWWSVZZZSRFNHWOLQWFRPSKRQHVQHZVDSSOHZKDWDUHPHPRMLKRZWRFUHDWHDQDQLPRMLWKDWORRNVOLNH\RX   
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KWWSVZZZSRFNHWOLQWFRPSKRQHVQHZVDSSOHZKDWDUHPHPRMLKRZWRFUHDWHDQDQLPRMLWKDWORRNVOLNH\RX   
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KWWSVZZZSRFNHWOLQWFRPSKRQHVQHZVDSSOHZKDWDUHPHPRMLKRZWRFUHDWHDQDQLPRMLWKDWORRNVOLNH\RX   
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KWWSVZZZSRFNHWOLQWFRPSKRQHVQHZVDSSOHZKDWDUHPHPRMLKRZWRFUHDWHDQDQLPRMLWKDWORRNVOLNH\RX   
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